           Case 17-32986-KLP                      Doc 1       Filed 06/11/17 Entered 06/11/17 23:24:24                              Desc Main
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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Eastern District of Virginia
                                          (State)                                                                                      ☐ Check if this is an
Case number (if known):                                         Chapter     11                                                             amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                      04/16
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
      number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s Name                                The Gymboree Corporation


                                                  N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names

3. Debtor’s federal Employer
   Identification Number (EIN)                    XX-XXXXXXX


4. Debtor’s address                        Principal place of business                                    Mailing address, if different from principal place
                                                                                                          of business
                                           71 Stevenson Street, Suite 2200
                                           Number             Street                                      Number         Street


                                                                                                          P.O. Box
                                           San Francisco, California 94105
                                           City                              State      Zip Code          City                         State     Zip Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                           San Francisco, California
                                           County                                                         Number         Street




                                                                                                          City                         State     Zip Code




5. Debtor’s website (URL)                  http://www.gymboree.com/

6.   Type of debtor                        ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                           ☐ Partnership (excluding LLP)

                                           ☐ Other. Specify:




      Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 1
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Debtor            The Gymboree Corporation                                          Case number (if known)
           Name



                                             A. Check One:
7.   Describe debtor’s business
                                             ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                             ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                             ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                             ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                             ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                             ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                             ☒ None of the above

                                             B. Check all that apply:
                                             ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                             ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                             ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             4481

8. Under which chapter of the                Check One:
   Bankruptcy Code is the
   debtor filing?                            ☐ Chapter 7

                                             ☐ Chapter 9

                                             ☒ Chapter 11. Check all that apply:

                                                               ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                 insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                 4/01/19 and every 3 years after that).
                                                               ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                 debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                 of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                               ☐ A plan is being filed with this petition.

                                                               ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).
                                                               ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                 Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                               ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                             ☐ Chapter 12

9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.       District                           When                      Case number
   within the last 8 years?                                                                     MM/DD/YYYY
     If more than 2 cases, attach a                 District                           When                      Case number
     separate list.                                                                             MM/DD/YYYY

10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                    Relationship     Affiliate
                                                    Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                        District    Eastern District of Virginia                     When
     List all cases. If more than 1,                                                                                              6/11/2017
     attach a separate list.                       Case number, if known _______________________                                  MM / DD / YYYY

      Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 2
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Debtor           The Gymboree Corporation                                          Case number (if known)
          Name



11. Why is the case filed in this    Check all that apply:
    district?
                                     ☐      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                     ☒      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have      ☒ No
    possession of any real           ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?

                                                 ☐    It needs to be physically secured or protected from the weather.

                                                 ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).
                                                 ☐    Other


                                                 Where is the property?
                                                                                      Number          Street



                                                                                      City                                  State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.     Insurance agency

                                                            Contact name
                                                            Phone




                     Statistical and administrative information

13. Debtor's estimation of          Check one:
    available funds
                                    ☐ Funds will be available for distribution to unsecured creditors.
                                    ☒ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of             ☐       1-49                      ☒      1,000-5,000                        ☐    25,001-50,000
    creditors                       ☐       50-99                     ☐      5,001-10,000                       ☐    50,001-100,000
                                    ☐       100-199                   ☐      10,001-25,000                      ☐    More than 100,000
                                    ☐       200-999



15. Estimated assets                ☐       $0-$50,000                ☐      $1,000,001-$10 million              ☐   $500,000,001-$1 billion
                                    ☐       $50,001-$100,000          ☐      $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000         ☒      $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million       ☐      $100,000,001-$500 million           ☐   More than $50 billion




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 3
          Case 17-32986-KLP                  Doc 1       Filed 06/11/17 Entered 06/11/17 23:24:24                                    Desc Main
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Debtor           The Gymboree Corporation                                            Case number (if known)
          Name



16. Estimated liabilities            ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                     ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐    More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on            6/11/2017
                                                              MM/ DD / YYYY


                                              /s/ James A. Mesterharm                                            James A. Mesterharm
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Authorized Signatory




18. Signature of attorney                     /s/ Michael A. Condyles                                        Date         6/11/2017
                                              Signature of attorney for debtor                                           MM/ DD/YYYY



                                              Michael A. Condyles
                                              Printed name
                                              Kutak Rock LLP
                                              Firm name
                                              901 East Byrd Street, Suite 1000
                                              Number                  Street
                                              Richmond                                                           VA                    23219-4071
                                              City                                                                State                ZIP Code
                                              804-343-5227                                                        michael.condyles@kutakrock.com
                                              Contact phone                                                           Email address
                                              27807                                                VA
                                              Bar number                                          State




     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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   Fill in this information to identify the case:


   United States Bankruptcy Court for the:
                       Eastern District of Virginia
                                             (State)                                               ☐ Check if this is an
   Case number (if                                                                                     amended filing
   known):                                               Chapter   11


                                             Rider 1
              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition
in the United States Bankruptcy Court for the Eastern District of Virginia for relief under chapter 11 of
title 11 of the United States Code. The Debtors have moved for joint administration of these cases
under the case number assigned to this chapter 11 case of The Gymboree Corporation.

        •    Giraffe Intermediate B, Inc.
        •    The Gymboree Corporation
        •    Gym-Card, LLC
        •    Gym-Mark, Inc.
        •    Gymboree Manufacturing, Inc.
        •    Gymboree Retail Stores, Inc.
        •    Gymboree Operations, Inc.
        •    S.C.C. Wholesale, Inc.
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Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange
Commission pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief
under chapter 11 of the Bankruptcy Code, this Exhibit "A" shall be completed and attached to the petition.]
                                         IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                                    RICHMOND DIVISION
                                                                      )
In re:                                                                )      Chapter 11
                                                                      )
THE GYMBOREE CORPORATION,                                             )      Case No. 17-______ (___)
                                                                      )
                                  Debtor.                             )
                                                                      )
      Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

        1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
    number is   000-21250

        2. The following financial data is the latest available information and refers to the debtor’s condition on
    January 28, 2017, as reported in the 10-Q dated March 14, 2017.

                           1
         (a)   Total assets                                                  $   755,498,000
         (b)   Total debts (including debts listed in 2.c., below)           $   $1,364,646,000
         (c)   Debt securities held by more than 500 holders
                                                                                                                  Approximate
                                                                                                                  number of holders:
         secured     ☐    unsecured     ☒    subordinated      ☐      $ 171,000,000                               650
         secured     ☐    unsecured     ☐    subordinated      ☐      $
         secured     ☐    unsecured     ☐    subordinated      ☐      $
         secured     ☐    unsecured     ☐    subordinated      ☐      $
         secured     ☐    unsecured     ☐    subordinated      ☐      $


         (d)   Number of shares of preferred stock                                                                N/A
         (e)   Number of shares of common stock                                                                    1,000


         Comments, if any:




         3. Brief description of debtor’s business: The Company is one of the largest children’s apparel retailers in
    North America. As of January 28, 2017, the Company operated a total of 1,291 retail stores.


         4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
    voting securities of debtor: As of March 14, 2017, the Company had 1,000 shares of common stock outstanding all of which
    are owned by Giraffe Holding, Inc., the registrant’s indirect parent holding company, and are not publicly traded.
    Bain Capital Fund X, L.P., indirectly, through Gymboree Holding, Ltd., Gymboree Investment Holdings, LLC,
    and Giraffe Holding, Inc., owns 95.396% of the voting common stock of The Gymboree Corporation.
Official Form 201A                              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11



1
       Assets and debts are for the total enterprise as reported in the 10-Q dated March 14, 2017.
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     Fill in this information to identify the case:

     Debtor name        The Gymboree Corporation, et al.

     United States Bankruptcy Court for the:               Eastern District of Virginia                                                           Check if this is an
     Case number (If known):                                                               (State)                                                amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                         12/15

    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
    debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
    include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
    among the holders of the 50 largest unsecured claims.

          Name of Creditor and             Name, Telephone Number, and Email                Nature of      Indicate if                 Amount of Claim
           Complete Mailing                   Address of Creditor Contact                     Claim         claim is        If the claim is fully unsecured, fill in
          Address, including ZIP                                                          (for example,   Contingent,     only unsecured claim amount. If claim
                  Code                                                                     trade debts,   Unliquidated     is partially secured, fill in total claim
                                                                                           bank loans,    or Disputed       amount and deduction for value of
                                                                                           professional                        collateral or setoff to calculate
                                                                                          services, and                                unsecured claim.
                                                                                           government                      Total        Deductio         Unsecured
                                                                                            contracts)                   Claim, if        n for             Claim
                                                                                                                         Partially       Value of
                                                                                                                         Secured        Collateral
                                                                                                                                        or Setoff
1      DEUTSCHE BANK TRUST              Name: CORPORATES TEAM / GIRAFFE                   9.125%                                                        $171,006,000
       COMPANY AMERICAS                 ACQUISITION CORPORATION                           SENIOR
       TRUST AND SECURITIES             Phone: 866-243-9656                               NOTES DUE
       SERVICES                         Fax: 732-578-4635                                 IN DECEMBER
       60 WALL STREET, 27TH             Email: DB@AMSTOCK.COM                             2018
       FLOOR
       MS: NYC60-2710
       NEW YORK, NEW YORK
       10005
2      HANSOLL TEXTILE LTD.             Name: CARMEN CHAU                                 TRADE                                                      $7,610,991
       HANSOLL TEXTILE BLDG.,           Phone: 852 2806 7980                              PAYABLE
       268 SONGPA-DAERO,                Fax: 852 3929 1329
       SONGPA-GU                        Email:CARMENCHAU@LFSOURCING.COM
       SEOUL, KOREA
3      TIP TOP FASHIONS LTD             Name: CARMEN CHAU                                 TRADE                                                      $5,034,443
       IND. PLOT NO#1, AVENUE-          Phone: 852 2806 7980                              PAYABLE
       1, BLOCK-E, SECTION-11,          Fax: 852 3929 1329
       MIRPUR                           Email: CARMENCHAU@LFSOURCING.COM
       DHAKA, BANGLADESH
4      ROYAL CLASSIC MILLS ( P )        Name: CARMEN CHAU                                 TRADE                                                      $4,981,204
       LTD                              Phone: 852 2806 7980                              PAYABLE
       31,PULIYAMARA                    Fax: 852 3929 1329
       THOTTAM,MANGALAM                 Email: CARMENCHAU@LFSOURCING.COM
       ROAD
       TIRUPUR, TAMILNADU,
       INDIA
5      NEXT COLLECTIONS LTD             Name: CARMEN CHAU                                 TRADE                                                      $4,837,232
       1323-1325 BERON,                 Phone: 852 2806 7980                              PAYABLE
       ASHULIA, SAVAR                   Fax: 852 3929 1329
       DHAKA, BANGLADESH                Email: CARMENCHAU@LFSOURCING.COM
     Case 17-32986-KLP                 Doc 1      Filed 06/11/17 Entered 06/11/17 23:24:24                             Desc Main
                                                  Document     Page 8 of 28
     Debtor _______________________                                                    Case number (if known) ________


       Name of Creditor and        Name, Telephone Number, and Email     Nature of      Indicate if                 Amount of Claim
        Complete Mailing              Address of Creditor Contact          Claim         claim is        If the claim is fully unsecured, fill in
       Address, including ZIP                                          (for example,   Contingent,     only unsecured claim amount. If claim
               Code                                                     trade debts,   Unliquidated     is partially secured, fill in total claim
                                                                        bank loans,    or Disputed       amount and deduction for value of
                                                                        professional                        collateral or setoff to calculate
                                                                       services, and                                unsecured claim.
                                                                        government                      Total        Deductio         Unsecured
                                                                         contracts)                   Claim, if        n for             Claim
                                                                                                      Partially       Value of
                                                                                                      Secured        Collateral
                                                                                                                     or Setoff
6    PAO YUAN GARMENTS           Name: CARMEN CHAU                     TRADE                                                         $4,396,271
     CORP.                       Phone: 852 2806 7980                  PAYABLE
     NO.3, LANE 616, SEC. 2ND,   Fax: 852 3929 1329
     CHUNG SHANG RD.,            Email: CARMENCHAU@LFSOURCING.COM
     CHUNG HO DIST.
     NEW TAIPEI CITY, TAIWAN
7    NAMYANG                     Name: CARMEN CHAU                     TRADE                                                      $3,481,791
     INTERNATIONAL CO., LTD      Phone: 852 2806 7980                  PAYABLE
     RM# 2601 , KOREA WORLD      Fax: 852 3929 1329
     TRADE CENTER, 159-1,        Email: CARMENCHAU@LFSOURCING.COM
     SAMSUNG-DONG,
     KANGNAM-GU
     SEOUL, KOREA
8    GLORY INDUSTRIES LTD        Name: CARMEN CHAU                     TRADE                                                      $3,356,388
     7/A, SHOLASHAHAR LIGHT      Phone: 852 2806 7980                  PAYABLE
     INDUSTRIAL AREA, BAIZID     Fax: 852 3929 1329
     BOSTAMI ROAD                Email: CARMENCHAU@LFSOURCING.COM
     CHITTAGONG,
     BANGLADESH
9    EASTMAN EXPORTS             Name: CARMEN CHAU                     TRADE                                                      $3,245,404
     GLOBAL CLOTHING (P) LTD     Phone: 852 2806 7980                  PAYABLE
     5/591, SRI LAKSHMI          Fax: 852 3929 1329
     NAGAR,                      Email: CARMENCHAU@LFSOURCING.COM
     PITCHAMPALAYAM PUDUR
     TIRUPUR, TAMILNADU,
     INDIA
10   PANWIN DESIGNS LIMITED      Name: CARMEN CHAU                     TRADE                                                      $2,795,435
     CS 576, BANIARCHALA         Phone: 852 2806 7980                  PAYABLE
     (BAGHER BAZAR),             Fax: 852 3929 1329
     BABANIPUR, GAZIPUR          Email: CARMENCHAU@LFSOURCING.COM
     SADAR, GAZIPUR.
     BANGLADESH
11   LIM LINE APPAREL CO.        Name: CARMEN CHAU                     TRADE                                                      $2,564,223
     LTD.                        Phone: 852 2806 7980                  PAYABLE
     844/60 SOI WATCHANNAI,      Fax: 852 3929 1329
     NEW ROAD,                   Email: CARMENCHAU@LFSOURCING.COM
     BANGKLO,BANGKHOLAEM,
     BANGKOK, THAILAND
12   YUMARK ENTERPRISES          Name: CARMEN CHAU                     TRADE                                                      $2,371,424
     CORP.                       Phone: 852 2806 7980                  PAYABLE
     14 FL, 67, SEC 2, TUN HWA   Fax: 852 3929 1329
     S.RD., TAIPEI, TW           Email: CARMENCHAU@LFSOURCING.COM
13   JUBILEETEX                  Name: CARMEN CHAU                     TRADE                                                      $2,347,736
     4/316 , KUMARASAMY          Phone: 852 2806 7980                  PAYABLE
     NAGAR,                      Fax: 852 3929 1329
     PITCHAMPALAYAM PUDUR        Email: CARMENCHAU@LFSOURCING.COM
     (PO),TIRUPUR, TAMIL
     NADU, INDIA
14   J.K. KNIT COMPOSITE LTD     Name: CARMEN CHAU                     TRADE                                                      $2,257,057
     HOLDING NO: 10/1, SHOP      Phone: 852 2806 7980                  PAYABLE
     NO:, SOUTH DORIAPUR,        Fax: 852 3929 1329
     SAVAR, DHAKA,               Email: CARMENCHAU@LFSOURCING.COM
     BANGLADESH




     Official Form 204Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 2
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     Debtor _______________________                                                    Case number (if known) ________


       Name of Creditor and        Name, Telephone Number, and Email     Nature of      Indicate if                 Amount of Claim
        Complete Mailing              Address of Creditor Contact          Claim         claim is        If the claim is fully unsecured, fill in
       Address, including ZIP                                          (for example,   Contingent,     only unsecured claim amount. If claim
               Code                                                     trade debts,   Unliquidated     is partially secured, fill in total claim
                                                                        bank loans,    or Disputed       amount and deduction for value of
                                                                        professional                        collateral or setoff to calculate
                                                                       services, and                                unsecured claim.
                                                                        government                      Total        Deductio         Unsecured
                                                                         contracts)                   Claim, if        n for             Claim
                                                                                                      Partially       Value of
                                                                                                      Secured        Collateral
                                                                                                                     or Setoff
15   PT UNI KYUNG SEUNG          Name: CARMEN CHAU                     TRADE                                                         $2,245,239
     INTERNATIONAL               Phone: 852 2806 7980                  PAYABLE
     JL. SUMATRA BLOK D 17 BI    Fax: 852 3929 1329
     (KBN) CAKUNG, KEL.          Email: CARMENCHAU@LFSOURCING.COM
     SUKAPURA, KEC
     CILINCING, JAKARTA, ID
16   KG FASHION CO.,LTD.         Name: CARMEN CHAU                     TRADE                                                      $2,087,408
     2F JUNG WOO B/D, 39-8       Phone: 852 2806 7980                  PAYABLE
     SAUM SUNG-DONG, GANG        Fax: 852 3929 1329
     NAM-GU, SEOUL, KOREA        Email: CARMENCHAU@LFSOURCING.COM
17   GENERAL LION FOOTWEAR       Name: CARMEN CHAU                     TRADE                                                      $1,941,174
     (INTERNATIONAL) LTD         Phone: 852 2806 7980                  PAYABLE
     UNIT 405, 4TH FLOOR,        Fax: 852 3929 1329
     YICK TAI IND BLG, 650-652   Email: CARMENCHAU@LFSOURCING.COM
     CASTLE PEAK RD, LAI CHI
     KOK, KOWLOON, HK
18   PAN PACIFIC CO LTD.         Name: CARMEN CHAU                     TRADE                                                      $1,927,093
     12, DIGITAL-RO 31-GIL,      Phone: 852 2806 7980                  PAYABLE
     GURO-GU                     Fax: 852 3929 1329
     SEOUL, KOREA                Email: CARMENCHAU@LFSOURCING.COM
19   MAWNA FASHIONS LTD          Name: CARMEN CHAU                     TRADE                                                      $1,820,629
     TEPIRBARI, SREEPUR,         Phone: 852 2806 7980                  PAYABLE
     GAZIPUR, BANGLADESH         Fax: 852 3929 1329
                                 Email: CARMENCHAU@LFSOURCING.COM
20   CONCEPT KNITTING            Name: CARMEN CHAU                     TRADE                                                      $1,819,454
     LIMITED                     Phone: 852 2806 7980                  PAYABLE
     TILARGATI, SATAISH          Fax: 852 3929 1329
     BAZAR, TONGI,               Email: CARMENCHAU@LFSOURCING.COM
     GAZIPUR.BANGLADESH
21   TA TRADING CO., LTD         Name: CARMEN CHAU                     TRADE                                                      $1,809,522
     194, DONGIL-RO,             Phone: 852 2806 7980                  PAYABLE
     GWANGJIN-GU, SEOUL,         Fax: 852 3929 1329
     KOREA                       Email: CARMENCHAU@LFSOURCING.COM
22   PT. BINA BUSANA             Name: CARMEN CHAU                     TRADE                                                      $1,747,012
     INTERNUSA                   Phone: 852 2806 7980                  PAYABLE
     JL INSPEKSI CAKUNG          Fax: 852 3929 1329
     DRAIN KM2, JAKARTA          Email: CARMENCHAU@LFSOURCING.COM
     UTARA, DKI JAKARTA, ID
23   NAM PO FOOTWEAR LTD.        Name: CARMEN CHAU                     TRADE                                                      $1,427,168
     UNIT                        Phone: 852 2806 7980                  PAYABLE
     NO.1501,15\F,PROSPERITY     Fax: 852 3929 1329
     CENTER, 25 CHONG YIP        Email: CARMENCHAU@LFSOURCING.COM
     STREET, KWUN
     TONG,KOWLOON, HONG
     KONG
24   ORACLE AMERICA, INC.        Name:PHYLLIS SAVAGE                   LEASE           DISPUTED                                   $1,259,548
     1001 SUNSET BLVD, ATTN:     Phone: 916-315-5845
     LEASE ADMINISTRATION,       Fax: 650-506-7114
     ROCKLIN, CA 95765 US        Email: PHYLISS.SAVAGE@ORACLE.COM




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     Debtor _______________________                                                    Case number (if known) ________


       Name of Creditor and        Name, Telephone Number, and Email     Nature of      Indicate if                 Amount of Claim
        Complete Mailing              Address of Creditor Contact          Claim         claim is        If the claim is fully unsecured, fill in
       Address, including ZIP                                          (for example,   Contingent,     only unsecured claim amount. If claim
               Code                                                     trade debts,   Unliquidated     is partially secured, fill in total claim
                                                                        bank loans,    or Disputed       amount and deduction for value of
                                                                        professional                        collateral or setoff to calculate
                                                                       services, and                                unsecured claim.
                                                                        government                      Total        Deductio         Unsecured
                                                                         contracts)                   Claim, if        n for             Claim
                                                                                                      Partially       Value of
                                                                                                      Secured        Collateral
                                                                                                                     or Setoff
25   TONGXIANG COLAX             Name: CARMEN CHAU                     TRADE                                                         $1,055,908
     INDUSTRIAL NO.3033,EAST     Phone: 852 2806 7980                  PAYABLE
     HUAN CHENG ROAD, WU         Fax: 852 3929 1329
     TONG INDUSTRIAL ZONE,       Email: CARMENCHAU@LFSOURCING.COM
     TONG XIANG, ZHE JIANG,
     CHINA
26   PT. MONDRIAN, JL KH         Name: CARMEN CHAU                     TRADE                                                      $1,034,330
     HASYIM ASHARI NO 171        Phone: 852 2806 7980                  PAYABLE
     BY PASS KLATEN, KLATEN,     Fax: 852 3929 1329
     CENTRAL JAVA, INDONESIA     Email: CARMENCHAU@LFSOURCING.COM
27   ZHANGJIAGANG DONGDU         Name: CARMEN CHAU                     TRADE                                                      $975,486
     TEXTILE, NO. 638 JINGANG    Phone: 852 2806 7980                  PAYABLE
     DADAO, ZHANGJIAGANG,        Fax: 852 3929 1329
     JIANGSU, CHINA              Email: CARMENCHAU@LFSOURCING.COM
28   PT. DAN LIRIS, KELURAHAN    Name: CARMEN CHAU                     TRADE                                                      $919,867
     BANARAN , KECAMATAN         Phone: 852 2806 7980                  PAYABLE
     GROGOL, CEMANI,             Fax: 852 3929 1329
     SUKOHARJO, CENTRAL          Email: CARMENCHAU@LFSOURCING.COM
     JAVA, INDONESIA
29   GLIDER CO. LTD., 4F, 222,   Name: CARMEN CHAU                     TRADE                                                      $911,034
     SEC.2, JIN-SHAN S. ROAD,    Phone: 852 2806 7980                  PAYABLE
     TAIPEI, TAIWAN              Fax: 852 3929 1329
                                 Email: CARMENCHAU@LFSOURCING.COM
30   COGNIZANT TECHNOLOGY        Name: NARAYANI VENKATESH-DIXIT        TRADE                                                      $901,727
     SOLUTIONS                   Phone: 925-523-8292                   PAYABLE
     211 QUALITY CIRCLE          Fax: 979 691 7750
     COLLEGE STATION, TX         Email: NARAYANI.VENKATESH-
     77845                       DIXIT@COGNIZANT.COM
31   HANSAE CO., LTD.            Name: CARMEN CHAU                     TRADE                                                      $870,178
     (YEOUIDO-DONG, 5F), 29,     Phone: 852 2806 7980                  PAYABLE
     EUNHAENG-RO,                Fax: 852 3929 1329
     YEONGDEUNGPO-GU,            Email: CARMENCHAU@LFSOURCING.COM
     SEOUL, KOREA
32   VIJAY GARMENTS LIMITED,     Name: CARMEN CHAU                     TRADE                                                      $861,183
     PLOT NO D-3(2), MEPZ-       Phone: 852 2806 7980                  PAYABLE
     SEZ, TAMBARAM,              Fax: 852 3929 1329
     CHENNAI, TAMIL NADU         Email: CARMENCHAU@LFSOURCING.COM
     INDIA
33   SPRINGFIELD GARMENT         Name: CARMEN CHAU                     TRADE                                                      $812,816
     CO. LTD., 33 SOI            Phone: 852 2806 7980                  PAYABLE
     PHETKASAME 33/1             Fax: 852 3929 1329
     PHETKASAME ROAD,            Email: CARMENCHAU@LFSOURCING.COM
     BANG-WHUA,
     PHASYCHAREON,
     BANGKOK, THALIAND
34   TOOKU TRADING CORP          Name: CARMEN CHAU                     TRADE                                                      $754,284
     LTD. (GMI)                  Phone: 852 2806 7980                  PAYABLE
     UNIT 1305，13/F,             Fax: 852 3929 1329
     PROSPERITY PLACE 6          Email: CARMENCHAU@LFSOURCING.COM
     SHING YIP STREET, KWUN
     TONG KOWLOON, HONG
     KONG




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     Debtor _______________________                                                    Case number (if known) ________


       Name of Creditor and        Name, Telephone Number, and Email     Nature of      Indicate if                 Amount of Claim
        Complete Mailing              Address of Creditor Contact          Claim         claim is        If the claim is fully unsecured, fill in
       Address, including ZIP                                          (for example,   Contingent,     only unsecured claim amount. If claim
               Code                                                     trade debts,   Unliquidated     is partially secured, fill in total claim
                                                                        bank loans,    or Disputed       amount and deduction for value of
                                                                        professional                        collateral or setoff to calculate
                                                                       services, and                                unsecured claim.
                                                                        government                      Total        Deductio         Unsecured
                                                                         contracts)                   Claim, if        n for             Claim
                                                                                                      Partially       Value of
                                                                                                      Secured        Collateral
                                                                                                                     or Setoff
35   SUNTEX GARMENTS             Name: CARMEN CHAU                     TRADE                                                         $747,340
     LIMITED, 45/F, HUALI        Phone: 852 2806 7980                  PAYABLE
     INTERNATIONAL               Fax: 852 3929 1329
     BUILDING, NO.67,            Email: CARMENCHAU@LFSOURCING.COM
     ZHUJIANG ROAD,
     NANJING, JIANGSU, CHINA
36   SHINWON CORPORATION         Name: CARMEN CHAU                     TRADE                                                      $713,534
     SHINWON BLDG, 328           Phone: 852 2806 7980                  PAYABLE
     DONGMAK-RO, MAPO-GU,        Fax: 852 3929 1329
     SEOUL, KOREA                Email: CARMENCHAU@LFSOURCING.COM
37   PRO-HOT ENTERPRISE CO.,     Name: CARMEN CHAU                     TRADE                                                      $691,257
     LTD., 4FL., NO.12, LANE     Phone: 852 2806 7980                  PAYABLE
     181, SEC. 2, JUI ZONG       Fax: 852 3929 1329
     ROAD, NEI HU DISTRICT,      Email: CARMENCHAU@LFSOURCING.COM
     TAIPEI CITY, TAIWAN
38   PEARL GLOBAL (HK)           Name: CARMEN CHAU                     TRADE                                                      $682,453
     LIMITED, UNIT 801-3, 8/F,   Phone: 852 2806 7980                  PAYABLE
     9 WING KONG STREET,         Fax: 852 3929 1329
     CHEUNG SHA WAN,             Email: CARMENCHAU@LFSOURCING.COM
     KOWLOON, HONG KONG
39   WINGA GARMENT               Name: CARMEN CHAU                     TRADE                                                      $665,340
     FACTORY, UNIT 23-28A        Phone: 852 2806 7980                  PAYABLE
     11/FL., PROFIT INDUSTRIAL   Fax: 852 3929 1329
     BUILDING, 1-15 KWAI         Email: CARMENCHAU@LFSOURCING.COM
     FUNG CRESCENT, NEW
     TERRITORIES, HONG KONG
40   LI & FUNG                   Name: CARMEN CHAU                     TRADE                                                      $642,732
     7/F HK SPINNERS             Phone: 852 2806 7980                  PAYABLE
     INDUSTRIAL BUILDING,        Fax: 852 3929 1329
     PHASES I & II               Email: CARMENCHAU@LFSOURCING.COM
     800 CHEUNG SHA WAN
     ROAD, KOWLOON, HONG
     KONG
41   SHARTEX INTERNATIONAL       Name: CARMEN CHAU                     TRADE                                                      $609,025
     TRADING                     Phone: 852 2806 7980                  PAYABLE
     10F,BLOCK A, 688 DALIAN     Fax: 852 3929 1329
     ROAD, SHANGHAI, CHINA       Email: CARMENCHAU@LFSOURCING.COM
42   CAPITAL SHOES FACTORY       Name: CARMEN CHAU                     TRADE                                                      $587,955
     ROOM 2704, 27/FLOOR,        Phone: 852 2806 7980                  PAYABLE
     AITKEN VANSON CENTRE,       Fax: 852 3929 1329
     61 HOI YUEN ROAD,           Email: CARMENCHAU@LFSOURCING.COM
     KWUN TONG, KOWLOON,
     HONG KONG
43   XIAMEN WELLEAST CO.,        Name: CARMEN CHAU                     TRADE                                                      $568,767
     LTD 29F, LIXIN PLAZA,       Phone: 852 2806 7980                  PAYABLE
     NO.90 HUBIN SOUTH           Fax: 852 3929 1329
     ROAD, XIAMEN, FUJIAN,       Email: CARMENCHAU@LFSOURCING.COM
     CHINA
44   WORLDMAX GARMENT            Name: CARMEN CHAU                     TRADE                                                      $566,727
     LIMITED, 7/F., TRUST        Phone: 852 2806 7980                  PAYABLE
     CENTER , 912-914 CHEUNG     Fax: 852 3929 1329
     SHA WAN ROAD,               Email: CARMENCHAU@LFSOURCING.COM
     KOWLOON, HONG KONG




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     Debtor _______________________                                                   Case number (if known) ________


       Name of Creditor and       Name, Telephone Number, and Email     Nature of      Indicate if                 Amount of Claim
        Complete Mailing             Address of Creditor Contact          Claim         claim is        If the claim is fully unsecured, fill in
       Address, including ZIP                                         (for example,   Contingent,     only unsecured claim amount. If claim
               Code                                                    trade debts,   Unliquidated     is partially secured, fill in total claim
                                                                       bank loans,    or Disputed       amount and deduction for value of
                                                                       professional                        collateral or setoff to calculate
                                                                      services, and                                unsecured claim.
                                                                       government                      Total        Deductio         Unsecured
                                                                        contracts)                   Claim, if        n for             Claim
                                                                                                     Partially       Value of
                                                                                                     Secured        Collateral
                                                                                                                    or Setoff
45    TOP RISE GARMENT          Name: CARMEN CHAU                     TRADE                                                         $540,907
     FACTORY (O/B TOP RISE      Phone: 852 2806 7980                  PAYABLE
     INDUSTRIAL CO., LTD.)      Fax: 852 3929 1329
     FLAT A & B, 8/F., LUCKY    Email: CARMENCHAU@LFSOURCING.COM
     FACTORY BUILDING, 63-65
     HUNG TO ROAD, KWUN
     TONG, KOWLOON, HK
46   SEYANG CORPORATION         Name: CARMEN CHAU                     TRADE                                                      $511,277
     2F SEYANG B/D, 424-6       Phone: 852 2806 7980                  PAYABLE
     DOGOK-DONG,                Fax: 852 3929 1329
     GANGNAM-GU, SEOUL,         Email: CARMENCHAU@LFSOURCING.COM
     KOREA
47   FULKI ENTERPRISE CO.       Name: CARMEN CHAU                     TRADE                                                      $510,855
     LTD.                       Phone: 852 2806 7980                  PAYABLE
     1F., NO.671-673, SEC. 1,   Fax: 852 3929 1329
     YUANJI RD, SHETOU          Email: CARMENCHAU@LFSOURCING.COM
     SHIANG, CHANGHUA
     COUNTY, TAIWAN
48   RADAR TOP LTD., FLAT C9.   Name: CARMEN CHAU                     TRADE                                                      $473,317
     BLK C.3/F.,HONG KONG       Phone: 852 2806 7980                  PAYABLE
     IND.CTR.,489-491 CASTLE    Fax: 852 3929 1329
     PEAK                       Email: CARMENCHAU@LFSOURCING.COM
     ROAD,KOWLOON,HONG
     KONG.
49   SONIA AND SWEATERS         Name: CARMEN CHAU                     TRADE                                                      $453,302
     LTD.                       Phone: 852 2806 7980                  PAYABLE
     604, KONDOLBAGH,           Fax: 852 3929 1329
     TAIBPUR, ASHULIA ROAD      Email: CARMENCHAU@LFSOURCING.COM
     SAVAR,DHAKA,
     BANGLADESH
50   KANY FOOTWEAR CORP.        Name: CARMEN CHAU                     TRADE                                                      $416,777
     NO 9 HAIJING ROAD, XIBIN   Phone: 852 2806 7980                  PAYABLE
     JINJIANG, FUJIAN, 362200   Fax: 852 3929 1329
                                Email: CARMENCHAU@LFSOURCING.COM




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                              RICHMOND DIVISION

                                                         )
In re:                                                   )    Chapter 11
                                                         )
THE GYMBOREE CORPORATION,                                )    Case No. 17-______ (___)
                                                         )
                            Debtor.                      )
                                                         )

                                      LIST OF EQUITY SECURITY HOLDERS1

          Equity Holders                  Address of Equity Holder               Class /           Percentage of
         (Type of Holding)                                                   Kind of Interest       Equity Held
    Giraffe Intermediate B, Inc.        71 Stevenson Street, Suite 2200
                                                                             Common Stock2              100%
           (Direct Holder)              San Francisco, California 94105

    Giraffe Intermediate A, Inc.        71 Stevenson Street, Suite 2200
                                                                              Common Stock              100%
          (Indirect Holder)             San Francisco, California 94105

         Giraffe Holding, Inc.          71 Stevenson Street, Suite 2200
                                                                              Common Stock              100%
          (Indirect Holder)             San Francisco, California 94105

    Gymboree Investment                 71 Stevenson Street, Suite 2200
                                                                             Common Stock3             99.67%
Holdings, LLC (Indirect Holder)         San Francisco, California 94105

     Gymboree Holding, Ltd.             71 Stevenson Street, Suite 2200
                                                                              Common Stock             99.67%
        (Indirect Holder)               San Francisco, California 94105
                                             John Hancock Tower
    Bain Capital Fund X, L.P.
                                            200 Clarendon Street              Common Stock           95.396%4
        (Indirect Holder)
                                         Boston, Massachusetts 02116




1
     This list serves as the disclosure required to be made by the debtor pursuant to rule 1007(a)(3) of the Federal
     Rules of Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11
     case.
2
     The Gymboree Corporation has only one class of common voting stock.
3
     Gymboree Investment Holdings, LLC holds its interest in The Gymboree Corporation indirectly through its
     holdings in two classes of common stock (Classes A and L) issued by Giraffe Holding, Inc.
4
     Bain Capital Fund X, L.P., indirectly through its holdings in three classes of common shares (Classes A, C, and
     L) of Gymboree Holding, Ltd., and then through Gymboree Investment Holdings, LLC, Giraffe Holding, Inc.,
     Giraffe Intermediate A, Inc., and Giraffe Intermediate B, Inc., holds 95.396% of the common stock of The
     Gymboree Corporation.
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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION

                                                  )
In re:                                            )     Chapter 11
                                                  )
THE GYMBOREE CORPORATION,                         )     Case No. 17-______ (___)
                                                  )
                       Debtor.                    )
                                                  )

                              CORPORATE OWNERSHIP STATEMENT

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of
any class of the debtor’s equity interest:

                    Shareholder                           Approximate Percentage of Shares Held

    Giraffe Intermediate B, Inc. (Direct Holder)                              100%
   Giraffe Intermediate A, Inc. (Indirect Holder)                             100%
       Giraffe Holding, Inc. (Indirect Holder)                                100%
Gymboree Investment Holdings, LLC (Indirect Holder)                          99.67%
     Gymboree Holding, Ltd. (Indirect Holder)                                99.67%
    Bain Capital Fund X, L.P. (Indirect Holder)                              95.396%
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   Fill in this information to identify the case and this filing:

 Debtor Name           The Gymboree Corporation

 United States Bankruptcy Court for the:                                           Eastern District of Virginia
                                                                                                 (State)
 Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must
sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration
that is not included in the document, and any amendments of those documents. This form must state the individual’s
position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



           Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent
         of the partnership; or another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the
         information is true and correct:

    ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
    ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    ☐     Schedule H: Codebtors (Official Form 206H)
    ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    ☐     Amended Schedule
    ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not
          Insiders (Official Form 204)
    ☒     Other document that requires a declaration: List of Equity Security Holders, Corporate Ownership
          Statement, Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11.

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on
                                                                                  /s/ James A. Mesterharm
                                      6/11/2017
                                      MM/ DD/YYYY                                Signature of individual signing on behalf of debtor
                                                                                 James A. Mesterharm
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

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                                  The Gymboree Corporation


                          Unanimous Written Consent of Directors

                                   Dated as of June 11, 2017

The undersigned hereby represents that the Board of Directors (the “Boards”) of The Gymboree
Corporation, a Delaware corporation, HEREBY CONSENTS to the taking of the following
actions and HEREBY ADOPTS the following resolutions by unanimous written consent (this
“Written Consent”), pursuant to applicable law.

Chapter 11 Filing

       WHEREAS, the Board has considered presentations by the management and the financial
       and legal advisors of the Company regarding the liabilities and liquidity situation of the
       Company, the strategic alternatives available, and the effect of the foregoing on the
       Company’s business; and

       WHEREAS, the Board has had the opportunity to consult with the management and the
       financial and legal advisors of the Company and fully consider each of the strategic
       alternatives available to the Company.

       NOW, THEREFORE, BE IT,

       RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
       the Company (including a consideration of the Company’s creditors and other parties in
       interest) that the Company shall be, and hereby is, authorized to file, or cause to be filed,
       a voluntary petition for relief (the “Chapter 11 Case”) under the provisions of chapter 11
       of title 11 of the United States Code (the “Bankruptcy Code”) in a court of proper
       jurisdiction (the “Bankruptcy Court”) and any other petition for relief or recognition or
       other order that may be desirable under applicable law in the United States; and

       RESOLVED, that any officers of the Company (collectively, the “Authorized
       Signatories”), acting alone or with one or more other Authorized Signatories be, and they
       hereby are, authorized, empowered and directed to execute and file on behalf of the
       Company all petitions, schedules, lists and other motions, papers, or documents, and to
       take any and all action that they deem necessary or proper to obtain such relief, including,
       without limitation, any action necessary to maintain the ordinary course operation of the
       Company’s business.

Retention of Professionals

       RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
       and directed to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis
       International LLP (together, “Kirkland”) as general bankruptcy counsel to represent and
       assist the Company in carrying out its duties under the Bankruptcy Code, and to take any
       and all actions to advance the Company’s rights and obligations, including filing any
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     motions, objections, replies, applications or pleadings; and in connection therewith, each
     of the Authorized Signatories, with power of delegation, is hereby authorized and
     directed to execute appropriate retention agreements, pay appropriate retainers, and to
     cause to be filed an appropriate application for authority to retain the services of
     Kirkland.

     RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
     and directed to employ the law firm of Kutak Rock LLP (“Kutak”) as local bankruptcy
     counsel to represent and assist the Company in carrying out its duties under the
     Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
     obligations, including filing any motions, objections, replies, applications or pleadings;
     and in connection therewith, each of the Authorized Signatories, with power of
     delegation, is hereby authorized and directed to execute appropriate retention agreements,
     pay appropriate retainers, and to cause to be filed an appropriate application for authority
     to retain the services of Kutak.

     RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
     and directed to employ the law firm of Munger, Tolles & Olson LLP (“Munger”) as
     counsel in connection with the matters delegated to that certain Special Committee of the
     Board of The Gymboree Corporation, established on May 18, 2017; and in connection
     therewith, each of the Authorized Signatories, with power of delegation, is hereby
     authorized and directed to execute appropriate retention agreements, pay appropriate
     retainers, and to cause to be filed an appropriate application for authority to retain the
     services of Munger.

     RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
     and directed to employ the firm Lazard Frères & Co. LLC as investment banker to,
     among other things, assist the Company in evaluating its business and prospects,
     developing a long-term business plan, developing financial data for evaluation by the
     Board, creditors, or other third parties, as requested by the Company, evaluating the
     Company’s capital structure, responding to issues related to the Company’s financial
     liquidity, and in any sale, reorganization, business combination, or similar disposition of
     the Company’s assets; and in connection therewith, each of the Authorized Signatories,
     with power of delegation, is hereby authorized and directed to execute appropriate
     retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
     application for authority to retain the services of Lazard Frères & Co. LLC

     RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
     and directed to employ the firm AlixPartners, LLP, as restructuring advisor, and to
     appoint James A. Mesterharm as Chief Restructuring Officer of the Company to
     represent and assist the Company in carrying out their duties under the Bankruptcy Code,
     and Liyuan Woo as interim Chief Financial Officer of the Company, and to take any and
     all actions to advance the Company’s rights and obligations; and in connection therewith,
     each of the Authorized Signatories, with power of delegation, is hereby authorized and
     directed to execute appropriate retention agreements, pay appropriate retainers, and to
     cause to be filed an appropriate application for authority to retain the services of
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      AlixPartners, LLP and to appoint James A. Mesterharm as Chief Restructuring Officer of
      the Company and Liyan Woo as interim Chief Financial Officer of the Company.

      RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
      and directed to employ the firm of Prime Clerk LLC as notice and claims agent to
      represent and assist the Company in carrying out its duties under the Bankruptcy Code,
      and to take any and all actions to advance the Company’s rights and obligations; and in
      connection therewith, each of the Authorized Signatories, with power of delegation, is
      hereby authorized and directed to execute appropriate retention agreements, pay
      appropriate retainers, and to cause to be filed appropriate applications for authority to
      retain the services of Prime Clerk LLC.

      RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
      and directed to employ the firm of A&G Realty Partners, LLC as real estate consultant to
      represent and assist the Company in carrying out its duties under the Bankruptcy Code,
      and to take any and all actions to advance the Company’s rights and obligations; and in
      connection therewith, each of the Authorized Signatories, with power of delegation, is
      hereby authorized and directed to execute appropriate retention agreements, pay
      appropriate retainers, and to cause to be filed appropriate applications for authority to
      retain the services of A&G Realty Partners, LLC.

      RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
      and directed to employ any other professionals to assist the Company in carrying out its
      duties under the Bankruptcy Code; and in connection therewith, each of the Authorized
      Signatories, with power of delegation, is hereby authorized and directed to execute
      appropriate retention agreements, pay appropriate retainers and fees, and to cause to be
      filed an appropriate application for authority to retain the services of any other
      professionals as necessary.

      RESOLVED, that each of the Authorized Signatories be, and they hereby are, with power
      of delegation, authorized, empowered and directed to execute and file all petitions,
      schedules, motions, lists, applications, pleadings, and other papers and, in connection
      therewith, to employ and retain all assistance by legal counsel, accountants, financial
      advisors, and other professionals and to take and perform any and all further acts and
      deeds that each of the Authorized Signatories deem necessary, proper, or desirable in
      connection with the Company’s Chapter 11 Case, with a view to the successful
      prosecution of such case.

General

      RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
      Authorized Signatories, each of the Authorized Signatories (and their designees and
      delegates) be, and they hereby are, authorized and empowered, in the name of and on
      behalf of the Company, to take or cause to be taken any and all such other and further
      action, and to execute, acknowledge, deliver and file any and all such agreements,
      certificates, instruments and other documents and to pay all expenses, including but not
      limited to filing fees, in each case as in such director’s judgment, shall be necessary,
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     advisable or desirable in order to fully carry out the intent and accomplish the purposes of
     the resolutions adopted herein.

     RESOLVED, that all members of the Board of the Company have received sufficient
     notice of the actions and transactions relating to the matters contemplated by the
     foregoing resolutions, as may be required by the organizational documents of the
     Company, or hereby waive any right to have received such notice.

     RESOLVED, that all acts, actions and transactions relating to the matters contemplated
     by the foregoing resolutions done in the name of and on behalf of the Company, which
     acts would have been approved by the foregoing resolutions except that such acts were
     taken before the adoption of these resolutions, are hereby in all respects approved and
     ratified as the true acts and deeds of the Company with the same force and effect as if
     each such act, transaction, agreement or certificate has been specifically authorized in
     advance by resolution of the Board.

     RESOLVED, that each of the Authorized Signatories (and their designees and delegates)
     be, and hereby is, authorized and empowered to take all actions or to not take any action
     in the name of the Company with respect to the transactions contemplated by these
     resolutions hereunder, as such Authorized Signatory shall deem necessary or desirable in
     such Authorized Signatory’s reasonable business judgment as may be necessary or
     convenient to effectuate the purposes of the transactions contemplated herein.
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IN WITNESS WHEREOF, the undersigned represents that the Board has authorized the
undersigned to execute this Consent on behalf of the Board as of the date above first written.


                                                  Mark Weikel
                                                  Director



                                                  Joshua
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                                                            Bekenstein
                                                              ekkeenstein
                                                  Director
                                                  Diirreector



                                                  Johnathan Belitsos
                                                  Director



                                                  Maxine Clark
                                                  Director



                                                  Jordan Hitch
                                                  Director



                                                  Marko Kivisto
                                                  Director



                                                  Lewis Klessel
                                                  Director



                                                  Daniel J. Griesemer
                                                  Director



                                                  Steven Winograd
                                                  Director



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IN WITNESS WHEREOF, the undersigned represents that the Board has authorized the
undersigned to execute this Consent on behalf of the Board as of the date above first written.


                                                  Mark Weikel
                                                  Director



                                                  Joshua Bekenstein
                                                  Director



                                                  Johnathan Belitsos
                                                  Director



                                                  Maxine Clark
                                                  Director



                                                  Jordan Hitch
                                                  Director



                                                  Marko Kivisto
                                                  Director



                                                  Lewis Klessel
                                                  Director



                                                  Daniel J. Griesemer
                                                  Director



                                                  Steven Winograd
                                                  Director



            [Signature Page to the Filing Consent of (The Gymboree Corporation)]
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